Case 5:24-cv-06920-EKL   Document 31-5   Filed 12/06/24   Page 1 of 29




                         Exhibit D
12/5/24, 8:28 AM      Case 5:24-cv-06920-EKL                 Document
                                                               Musi app no31-5        Filed
                                                                           longer in app      12/06/24
                                                                                         store? : r/Musi_App Page 2 of 29


     Skip to main content
                                              r/Musi_App      Search in r/Musi_App                                   Log In



             r/Musi_App • 2 mo. ago
             EmploymentCautious55

    Musi app no longer in app store?
     Question
    I was trying to clear some space and now that I want to download musi again it says it's no long supported. Can I
    do anything to get it back?



          295                   497                        Share


        upwork • Promoted


 Find top-tier creatives in just a few clicks on Upwork. Review portfolios, check client
 feedback, and book interviews—all in one place.

   Sign Up                                                                                upwork.com




                                                                   Add a comment


    Sort by: Best                     Search Comments



          musi_app_support MOD • 2mo ago •                 Stickied comment •
                Top 1% Commenter
         The app is currently unavailable while we address some comments relating to the App Store. We don’t have
         an estimated time as to when it’ll be back but rest assured this has our top attention!

                Vote                  Reply

                   154 more replies



          Acroze • 2mo ago •

         I was afraid of it coming to it’s demise eventually. I’m assuming it has to do with the in-app purchase for
         advertisement’s… I’m never gonna be updating the app. 😂

                35              Reply

                Significant_Tax7904 • 2mo ago •




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                           1/28
12/5/24, 8:28 AM      Case 5:24-cv-06920-EKL              Document
                                                            Musi app no31-5        Filed
                                                                        longer in app      12/06/24
                                                                                      store? : r/Musi_App Page 3 of 29

            I PAID to have all ads removed. I have the old working app on my old phone, iPhone 12. Now my iPhone
     Skip to main content
            16, even though data was all transferred, requests it to be downloaded from the App Store.Log In

              Bummer!!! Was great for searching for song Lyrics, pulled from YouTube

                      16               Reply

                       7 more replies

                   17 more replies



          Legal_Rip • 2mo ago •

         Yeah I'm nervous it's gone I have a playlist that I've been building since 2018 it's still working but it's not in
         the store

               22                   Reply

               Key_Kaleidoscope3461 • 2mo ago •

              Exactly the only app I use I delete it on accident 💔💔💔

                      6               Reply

                   9 more replies



          Straight-Leg6249 • 2mo ago •

         Omg I could cry right now. I just got my new iPhone 16 and backed up my old phone and transferred my
         data to the new phone…. now all my musi music is gone since i can’t redownload it.. man this is such a
         bummer. I hope the issue can be resolved soon 🥺🙏

               12               Reply

                   30 more replies



          PaigeNicole3899 • 2mo ago •

         I swear to god if it doesn’t come back, I will put myself into a psych ward. I was listening to music yesterday
         while getting a shower, but today I got the iPhone 16 and all of the apps were downloading. That’s when I
         learned that Musi was deleted from the App Store. I feel broken. I know that seems dramatic, but I already
         had a rough summer and this is the final straw. Is there anything we can do? I might go back to the Verizon
         place and see if I can go on my old phone and take pictures of my playlists. I have playlists for the characters I
         wrote.

               10               Reply

                   6 more replies



          EstablishmentOk7210 • 2mo ago •

         Been using it for years with over 100 playlists I can’t plz lord F u apple Apple Music and Spotify is ass


https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                           2/28
12/5/24, 8:28 AM      Case 5:24-cv-06920-EKL              Document
                                                            Musi app no31-5        Filed
                                                                        longer in app      12/06/24
                                                                                      store? : r/Musi_App Page 4 of 29

             7
     Skip to main       Reply
                  content
                                                                                                                  Log In
                   2 more replies


          [deleted] • 2mo ago •



          Nervous-Ease-2725 • 2mo ago •

         i accidentally deleted it and now it’s not showing up in the app store 😭😭😭 good luck to you too i hope
         this gets sorted out

               5                  Reply

                   5 more replies



          RoyalResolution6889 • 2mo ago •

         I literally want to scream I’m trying to smoke but I can’t even listen to my playlist wtf

               5                  Reply

                   10 more replies



          ParticularResolve372 • 2mo ago •

         yea just backed my stuff to yt music cus my music is very underground.. only on youtube stuff. musi is lit my
         most used app a day. i can still use it but for how long?? who knows. hopefully itl come back but idk judging
         by they essentially piggy back of youtubes library the whole time so they can profit from ads. sticky situation.
         apple music is good tho for quality

               5                  Reply



          lowFrosting0830 • 2mo ago •

         It’s gone from AppStore for some reason . Although it is working for me so far . I had the app installed few
         months ago I’d say

               4                  Reply

                   1 more reply


           connecteam123 • Promoted


           Save yourself the headache, and a wad of cash for your business. Replace
           all your work apps with one that does it all—operations, communication,
           and HR.

              Sign Up                                                           lp2.connecteam.com




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         3/28
12/5/24, 8:28 AM      Case 5:24-cv-06920-EKL              Document
                                                            Musi app no31-5        Filed
                                                                        longer in app      12/06/24
                                                                                      store? : r/Musi_App Page 5 of 29


     Skip to main content
                                                                                                                  Log In
          Yannimago • 2mo ago •

         It got banned ?? Thank god I have it before it got removed .

               4                  Reply



          Cahhio • 2mo ago •

         No sure and i conver to new phone and this app is not serving in the store im sorrowful about this💦

               4                  Reply

                   1 more reply



          MrsPeaches33 • 2mo ago •

         3163 tracks bro💔💔💔

               4                  Reply


               TookaGotShot • 2mo ago •

              6,000+ for me

                      4               Reply



          No_Extension_2037 • 2mo ago •

         I have it on my iPad.. I can never delete the app lol

               4                  Reply

                   5 more replies



          emi-lx • 2mo ago •

         i was gonna redownload it to get rid of the ads but then i went complete panic mode when it wasn’t on the
         app store. i had 236 songs on my playlist. i feel like i made a life-time mistake. 😔

               4                  Reply

                   4 more replies



          MeasurementOk453 • 2mo ago •

         Same exact thing happened to me... I am hoping it comes back soon

               3                  Reply


          [deleted] • 2mo ago •



https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                        4/28
12/5/24, 8:28 AM      Case 5:24-cv-06920-EKL              Document
                                                            Musi app no31-5        Filed
                                                                        longer in app      12/06/24
                                                                                      store? : r/Musi_App Page 6 of 29
          Fit-Meeting3139 • 2mo ago •
     Skip to main content
                                                                                                                  Log In
         So if I get a new iPhone, am I gonna lose all my Musi?

               3                  Reply

               musi_app_support • 2mo ago •
                      Top 1% Commenter
              When Musi is available for download again, your library will he retrievable through our in-app backup
              system if you are using the same Apple ID on your new device.

                      7              Reply

                       8 more replies


          [deleted] • 2mo ago •



          veinrot • 2mo ago •

         I might be wrong but if I’m remembering correctly, this happened a few years ago too. I could be wrong and
         could be thinking of another app, though.

               2                  Reply

                   2 more replies



          afionaxtz • 2mo ago •

         I noticed this too and came here to say this😭and then noticed that you already said it. I’m so scared because
         of it

               2                  Reply



          Sea-Cabinet4350 • 2mo ago •

         Thank god I didn’t delete it today, there’s so many songs in my playlist that i made from 2019

               2                  Reply



          Still-Conflict9178 • 2mo ago •

         I think if someone you know Or a friend has the app u can ask them to share it to you.

               2                  Reply

                   1 more reply



          Sarre57400 • 2mo ago •

         Update I13 to 18IOS no issue with Musi (yet anyway..). Musi is one important reason I wouldn’t spend much
         on an Android tablet! I’d like Android’s flexibility but useless if main purpose (music) doesn’t include Musi
         app.

https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                        5/28
12/5/24, 8:28 AM      Case 5:24-cv-06920-EKL              Document
                                                            Musi app no31-5        Filed
                                                                        longer in app      12/06/24
                                                                                      store? : r/Musi_App Page 7 of 29

             2
     Skip to main       Reply
                  content
                                                                                                                  Log In
                   1 more reply



          Correct_Mine6817 • 2mo ago •

         wow i’m sick bro i have so much music on that

               2                  Reply



          johnny1valdez • 1mo ago •

         Why don’t we all start a riot for Musi we need Musi we need it back 😖

               2                  Reply



          theunknown_master • 1mo ago •

         Yup looks like the seven trillion dollars they made last month wasn’t enough. They had to remove it to stay in
         business.

               2                  Reply



          SuspiciousTrip69 • 2mo ago •

         It just auto deleted it for me

               1                  Reply

                   6 more replies



          [deleted] • 2mo ago •

         I’m from the uk and it says it’s not available in my region anyone else?

               1                  Reply

                   7 more replies



          Kindly-Elephant-1727 • 2mo ago •

         Funny how we all have this question at the same time

               1                  Reply



          MaleficentRule8131 • 2mo ago •

         NOOOOOO MY MUSIC I NEED IT BACK NOOOOW OH NOOO

               1                  Reply




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                        6/28
12/5/24, 8:28 AM      Case 5:24-cv-06920-EKL              Document
                                                            Musi app no31-5        Filed
                                                                        longer in app      12/06/24
                                                                                      store? : r/Musi_App Page 8 of 29
          heyitsaaron1 • 2mo ago •
     Skip to main content
                                                                                                       Log In
         This happened to me as well, I just got a new phone and it won't redownload cause it is not available. So sad.

               1                  Reply



          [deleted] • 2mo ago •

         i'm giving up if my music goes away i cannot afford streaming services

               1                  Reply



          Professional-Rip4991 • 2mo ago •

         I can’t remember the last time I updated it before it went off the App Store. Hopefully it’s on the current
         version. Can I purchase a VPN to continue to use it in a region Apple can’t restrict my access??

               1                  Reply

                   1 more reply



          saltyjellybeans • 2mo ago •

         if uninstalled from your iphone, can't you just reinstall it from app store > account > apps > my apps?

               1                  Reply

                   1 more reply



          AshBornTheGreat • 2mo ago •

         Good thing I still got mine

               1                  Reply



          Informal_Alfalfa_714 • 2mo ago •

         I have mine but it doesn’t want to play any of my music 😔 just stopped playing like 5 minutes ago

               1                  Reply

                   3 more replies



          Lumpy_Cover3486 • 2mo ago •

         i have musi on my other phone but i can’t find it anywhere in my app history on my main phone

               1                  Reply



          Ballmanbaloon • 2mo ago •




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                       7/28
12/5/24, 8:28 AM      Case 5:24-cv-06920-EKL              Document
                                                            Musi app no31-5        Filed
                                                                        longer in app      12/06/24
                                                                                      store? : r/Musi_App Page 9 of 29

        Good thing I downloaded it before it got taken off the App Store, kinda sucks how I can’t get rid of ads now
     Skip to main content
        though.                                                                                        Log In

               1                  Reply

               Homer_J_Fry • 2mo ago •

              It was a very worth it $6.

                      2               Reply

                   2 more replies



          mnchls • 2mo ago •

         Welp. Looks like I won't be resetting my phone after all. I've got an old-school 6s Plus (that's somehow still
         kicking!) but with this crazy huge chunk of leftover cache (or whatever "System Data" happens to be, as
         represented by that grey bar in Storage) taking up almost 16GB. Been meaning to back up all my important
         data and do a factory reset in (futile?) hopes of regaining all that storage space. Not anymore, because
         keeping Musi is CRUCIAL.

         Really hope this gets sorted, but if we're working against Apple, YouTube, and the recording industry itself
         (and its IFPI goons), then I'm highly doubtful we have a chance...

               1                  Reply

                   1 more reply



          grapemilk_boba • 2mo ago •

         Nooo are you serious 😭 it took me 5 years to bite the bullet to pay for Musi without ads, and holy shit I
         should've done this WAY sooner. I've only been enjoying it ad-free for like a month or two, and now this 🥲
         please keep up the fight I beg of u 🙏🏼

               1                  Reply

                   1 more reply



          Namornow • 2mo ago •

         My Musi just started working again. I don’t have to log on to YouTube in order to listen to anything 🥳

               1                  Reply

                   1 more reply



          Homer_J_Fry • 2mo ago •




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                       8/28
12/5/24, 8:28 AM     Case 5:24-cv-06920-EKL               Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 10 of 29

        I just found this out today. Apple are making a huge mistake. Last year my iPhone SE's battery died, and I
     Skip to main content
        tried out an Android phone for the first time. I had a lot of issues with it, but the #1 reason thatLog In me say,
                                                                                                             made
        "Hell, no!" is Android did not have Musi on its app store. I kid you not, Musi is such an amazing app, it's
        literally a big part of the reason I stuck with Apple and will never touch Android. (That and Android OS feels
        like it's held together with duct tape, compared to iOS security and reliability).

         But newer iPhones are still ass: removing home button, removing headphone jack, removing mute button; so
         I just got a new battery in my same Phone and a year later that was the best call.

               1                  Reply



          s6s9s • 2mo ago •

         just set up my new iphone and i almost cried when it said musi isn't available on the app store 😢

               1                  Reply

                   1 more reply



          Kizono_1 • 2mo ago •

         I still have the app and I’m not deleting it ever unless it comes back to the App Store. Other than that, I’m
         moving back to SoundCloud after 2 years

               1                  Reply

                   1 more reply



          Emotional_Opening302 • 2mo ago •

         all my music was on musi, 4 years worth of songs so if i don’t get it back soon ima da buy and LG bc wtf
         Apple no warning or anything shits crazy fuck apple fr

               1                  Reply

                   1 more reply



          Trvpstzr • 2mo ago •

         genuinely heart broken asf i pray y’all get the app back up cause i have over 1k songs on there that’s the only
         music app i used i noticed it wouldnt lemme sign into my youtube acc so i undownloaded and when i went to
         go back it said it wasn’t available in my country or region💔💔💔💔💔💔💔💔💔

               1                  Reply



          emi-lx • 2mo ago •

         idk man 😞 i cant even find it in the apple store

               1                  Reply




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                          9/28
12/5/24, 8:28 AM     Case 5:24-cv-06920-EKL               Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 11 of 29
          Unlikely_Yak9069 • 2mo ago •
     Skip to main content
                                                                                                          Log In
         I can’t access my old playlist and what happened to Musi this don’t look like Musi trying to charge me 12
         dollars for no adds is crazy o every 2 dollars is crazy yall got toooo many adds to the point every time you
         open the app it’s a add never been this bad ion even know this is really musi anymore

               1                  Reply

                   1 more reply



          Mega_Simp66 • 2mo ago •

         made the mistake of deleting the app because it wasn’t working.

               1                  Reply



          tbaby1477 • 2mo ago •

         I have 8 years of music literally gone and i’ll never be able to remember all the songs i had on there to make a
         new playlist on youtube. I literally wanna cry. Is there anyway i can login to musi on google or on an android
         to atleast try and get my songs back?

               1                  Reply

                   3 more replies



          Euphoric_Error_7016 • 2mo ago •

         Just got the new iPhone 16 and was disappointed when I found out. So rn, im gonna listen to it as much as I
         can on my old iPhone 11 until I gotta ship the old phone in the mail💯😭😭😭😭💔🥲

               1                  Reply

                   1 more reply



          GooGooisback • 2mo ago •

         Will changes be made when it comes back? 🗿🗿🗿

               1                  Reply

                   2 more replies


          [deleted] • 2mo ago •



          Illustrious_Motor969 • 2mo ago •

         if u still have it share the link of ur playlist to urself and if you open it on chrome or google it comes up on
         the website so even if you cant access the app anymore your playlists are still safe, to save them on a
         different app


https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         10/28
12/5/24, 8:28 AM     Case 5:24-cv-06920-EKL               Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 12 of 29

             1
     Skip to main      Reply
                  content
                                                                                                                   Log In

          Ismail_1999 • 2mo ago •

         I have so many songs on my favourite list. Will I get them back ?

               1                  Reply

                   3 more replies



          emi-lx • 2mo ago •

         if there is an estimated time it’ll be back, will you tell us ASAP?

               1                  Reply

                   1 more reply



          Brave_Isopod3218 • 2mo ago •

         Omg bro yall gotta come back! Im finna get a new phone and im sooooo heartbroken that I can’t keep my
         music omg !! I love y’all so much!! I don’t wanna choose a new music app! I want MUSI! 😭😭😭💔

               1                  Reply



          Tiny_Second6098 • 2mo ago •

         I upgraded my phone and now i can’t download musi from app store and the only thing i am missing about
         musi is their equalizer . I can listen to songs on any app or any other platform but any other equalizer can’t
         beat musi’s equalizer. I don’t even know what a equalizer is but then i saw a option saying equalizer in musi
         app and i start using and i love that. Musi made it very simple and perfect. I wish everything went good with
         musi and hoping to get back soon.

               1                  Reply



          Medical_Onion_3631 • 2mo ago •

         Please bring back Musi to apple App Store

               1                  Reply



          Flimsy-Crow-3079 • 2mo ago •

         literally did the same exact thing 😭

               1                  Reply



          [deleted] • 2mo ago •




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         11/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 13 of 29

        Wowwwwwwwwwwwwwww so I won’t ever get it bacc I had to restart my phone due to a broken screen
     Skip to main content
        greaaatttttttttttttt                                                                 Log In

               1             Reply

               musi_app_support • 2mo ago •
                   Top 1% Commenter
              We will be back.

                   2              Reply

                    3 more replies



          Open_Stock_493 • 2mo ago •

         Mine is still working. 13 pro on the latest ios and all apps updated. It’s working fine. I was thinking of trading
         my phone in for a newer one but definitely not doing that now this phone is worth gold just for the musi app

               1             Reply



          Aggressive_Sky_5387 • 2mo ago •

         Accidentally deleted the app 🥲

               1             Reply



          beatmastab • 2mo ago •

         Following! Come back when you are ready musi!

               1             Reply



          TerrenceRossSuperFan • 2mo ago •

         Just got a new phone transferred all the data everything app shows up but needs to be redownloaded and
         says it’s not available in App Store

               1             Reply



          Revolutionary-Cod-23 • 2mo ago •

         I got a new phone and i cant get the app on my new phone. I might never get rid of my old phone now

               1             Reply



          Internal_Link_5226 • 2mo ago •

         i lost my long musi list too and i dont want to to back to that greedy ass spotify

               1             Reply



          DJ_Percy_Jackson • 2mo ago •

https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                           12/28
12/5/24, 8:28 AM     Case 5:24-cv-06920-EKL               Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 14 of 29


     Skip to main content
                                                                                                      Log In
         Shit and I just got my new phone and it’s not letting me download it from my cloud it’s on my phone also but
         it’s not letting me completely download it. Luckily, I have it on my iPad.

               1                  Reply



          ReDdItLoVeR-123 • 2mo ago •

         I got a new phone and musi is gone I might go on a music strike 😔

               1                  Reply



          wsgmxgs • 2mo ago •

         I literally got a new iPhone 15 pro max and I went in the AppStore to download musi and it doesn’t appear. I
         tried to airdrop the link from my old iPhone 11 but it said it’s not available in my region. (I live in Portugal)

               1                  Reply

                   1 more reply



          104PakManGoon • 2mo ago •




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                          13/28
12/5/24, 8:28 AM     Case 5:24-cv-06920-EKL               Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 15 of 29


     Skip to main content
                                                                                                                   Log In




         im never deletin Musi🗣️.. held me down for 7 yrs

               1                  Reply



          FemboyKatThighs • 2mo ago •

         thank god i had musi on my new phone before it went down

               1                  Reply



          AdAdventurous8695 • 2mo ago •

         I just got a new phone, i get that if i transfer all my data from my old phone to the new one musi wont be
         there, but will it delete on the old phone?

               1                  Reply

                   1 more reply



          Threaded_Nail • 2mo ago •

         I hope Musi comes back. Its really a great app, ive used it for years and am missing it dearly right now!


https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         14/28
12/5/24, 8:28 AM     Case 5:24-cv-06920-EKL               Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 16 of 29

             1
     Skip to main      Reply
                  content
                                                                                                                   Log In
                   1 more reply



          Downtown-Heat-1123 • 2mo ago •

         Musi I need you! You are my favorite music service. You have the best selection of music Spotify doesn’t even
         come close. I just upgraded to a new iphone and I have to trade in my old one but I can’t download you.
         Almost 1k in songs can’t even find 70% of them on Spotify. You’re still on my old phone and everything is
         backed up. Once you return there will be a celebration.

         I even tried getting a vpn and going through other regions and unfortunately I was not successful😞

               1                  Reply



          South_Improvement_71 • 1mo ago •

         I got a new phone today and transfer all my data of course and it won’t let me reinstall musi. I just lost 6 years
         of music.

               1                  Reply

                   1 more reply



          ComprehensiveAct8961 • 1mo ago •

         I can't agree more that all other.. I miss the Musi app..
         Hurry back!! We miss you!! <3

               1                  Reply



          Cyfindom • 1mo ago •

         Any update on this?

               1                  Reply

                   1 more reply



          AppropriateSink6122 • 1mo ago •

         WOW Well i still have my app and will continue to bass boost music and have fun with my headphones in the
         car till my phone dies lol this app is one of the reasons love to listen to music all the time because you can
         make it sound how you want bass boost or make it sound goofy its an awesome app so sad apple kicked it
         out.I hope for a return or another way to get the app

               1                  Reply



          Glittering-Ad6996 • 1mo ago •




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         15/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 17 of 29

        this has to get sorted, I have 200+ hour long playlists on there & paid for no ads, been using the app for
     Skip to main content
        years                                                                                           Log In

               1             Reply



          BigDPlz • 1mo ago •

         I need musi in my life, all those beautiful playlists that aren’t there in my life right now :(

               1             Reply



          Top-Conversation7179 • 1mo ago •

         Same 🥲

               1             Reply



          mikew_reddit • 1mo ago •

         Can Musi be sideloaded?

         See:
         https://www.reddit.com/r/Musi_App/comments/1gc9fab/can_the_musi_app_be_sideloaded_using_the_altstore
         /

               1             Reply



          kee_osama • 1mo ago •

         Why don’t you guys ever save my YouTube login I constantly have to verify my age and then when I do it
         barely works. I’ll be logged in but the app won’t let me play the song because it says I still need to verify age

               1             Reply

               musi_app_support • 1mo ago •
                   Top 1% Commenter
              The app won’t log you out unless you reinstall, update your app, or reinitialise your streaming settings. If
              you are being logged out other than those circumstances, it’s because Google occasionally ends login
              sessions as a security feature across all of their apps.

              You may also be logged in and seeing that same error because the specifications you’re trying to play has
              been flagged inappropriate for playback on 3rd party apps and will only play natively on YouTube.

                   1             Reply



          Wide_Professor845 • 1mo ago •

         I cant even get my songs off my old phone bc i accidentally crushed it in my car door and the touch doesn't
         work anymore. i had so many songs now i have to use Spotify and try to remember what songs i had :(

               1             Reply



https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                          16/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 18 of 29

          Over-Sun-6349 • 1mo ago •
     Skip to main content
                                                                                                      Log In
         Bro I got the iPhone 16 and it worked. Switched it to iPhone 16 pro max and can’t download it. 😂

               1             Reply



          gffggre44 • 1mo ago •

         My App Store says Musi isn’t available in my country or region

               1             Reply



          LavishnessUnusual262 • 1mo ago •

         Why can’t I download Musi again? It says not available in your region country

               1             Reply

               musi_app_support • 1mo ago •
                   Top 1% Commenter
              The app is currently unavailable while we address some comments relating to the App Store. We don’t
              have an estimated time as to when it’ll be back but rest assured this has our top attention!

                   1             Reply



          Resident-Rough-4312 • 1mo ago •

         I still got the app downloaded on one of my phones

               1             Reply



          Original-Prune8173 • 1mo ago •

         I got the new iPhone 16 and transferred all my data but the App Store won’t let me redownload the app
         AND I LOST ALLL MY SONGS but I still have the saved the data how can I get my SONGSSSSSSS

               1             Reply



          Bailey950y • 1mo ago •

         I’d love to know if I’ll get my money back after paying for NO ADS

               1             Reply

               musi_app_support • 1mo ago •
                   Top 1% Commenter
              Your purchase will still be valid when the app returns, but if you want a refund you can request one via
              Apple here: https://support.apple.com/en-ca/118223

                   1             Reply

                    2 more replies

               MaterialOk8552 • 1mo ago •
https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                        17/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 19 of 29


     Skip to main content
                                                                                                                   Log In
              what ads?

                   1             Reply



          Puzzleheaded-Quote31 • 1mo ago •

         Yo

               1             Reply



          yk615 • 1mo ago •

         wont let me open cause it needs an update is there no way to open the app without updating it???

               1             Reply



          Fit_Atmosphere_1832 • 1mo ago •

         Is there any clue to when Musi will return to the App Store?

               1             Reply



          chamklaxx • 1mo ago •

         I still have Musi on my iPhone 15 pro max but I can’t update it

               1             Reply



          I_A_M_N_O_B_O_D_Y • 1mo ago •

         I still have it rn should I transfer my playlist songs into a YouTube list just in case?

               1             Reply


               Unlikely_Ad_6391 • 26d ago •

              As long as you still got it downloaded and it works.. pretty sure it’s fine and you’ll continue to have it. It’s
              for people like me that got a new phone or accidentally deleted it and can’t redownload the app because
              it’s been taken off the App Store.

                   1             Reply



          nmuniz2 • 1mo ago •

         Yeesh did we all realize this after upgrading?

               1             Reply



          AshHunter420 • 27d ago •


https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                              18/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 20 of 29

        Ffs lost my musi app, disappointed
     Skip to main content
                                                                                                                   Log In
               1             Reply



          yuriyiri6614 • 27d ago •

         Is there any way to get around the AppStore limitation? Maybe online download?

               1             Reply

               musi_app_support • 27d ago •
                   Top 1% Commenter
              We don’t recommend downloading elsewhere as it could potentially be a risk to your device.

                   1             Reply



          Unlikely_Ad_6391 • 27d ago •

         Musi please come thruuuuu😭😭😭☹️☹️☹️☹️ got my new 16 pro max and I NEED YOU TO BE
         DOWNLOADED AGAIN.

               1             Reply



          Educational_Put_986 • 26d ago •

         Musi you saved me!! Please fight and win your round!! The 2.99 is okay with me!!You guys are amazing!! I
         need you guys back asap !! I have beats stored and ready to lease!!!

               1             Reply



          Accomplished_Ad_2709 • 26d ago •

         NOOOOOOOOOO I had this app for years u gotta be fkng kidding me…we just lost the best app 😔

               1             Reply



          Background-Round-567 • 26d ago •

         Es una lástima es tremenda app yo pongo música con ella y es excepcional esperamos con mucha fe que se
         solucione pronto todo mi familia usa esta aplicación a ese equipo de trabajo gracias todo no es dinero
         gracias

               1             Reply



          Daneriikpr • 25d ago •

         Bro, I had like 5000 song and like 20-25 playlists saved since 2018. I need all that music back please, im so
         pissed off because I offloaded Musi to update my phone and then I noticed musi was not in app store
         anymore🤬😤Musi was my emotions reliever and now i dont have nothing to listen to😭

               1             Reply



https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         19/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 21 of 29

          Born-Job-7798 • 25d ago •
     Skip to main content
                                                                                              Log In
         We need Musi back asap there’s no app as good as Musi and we don’t want another one😭❤️

               1             Reply



          karenhasgucci • 25d ago •

         I have had the app since 2023 so mine wasn’t removed and I still have it today and it works just fine 😁 so if
         you never deleted it I guess it’ll just still work.

               1             Reply



          el_jack28son • 24d ago •

         will the issue ever be resolved or should i just give up on waiting and use a new music app and somehow
         remake all my playlists

               1             Reply



          AB0MB-86 • 23d ago •

         Is Musi still coming back on the US App Store?

               1             Reply



          Numerous_Complaint24 • 22d ago •

         We can all be heart broken together now

               1             Reply



          Clean-Conversation94 • 22d ago •

         They sued apple and won but it’s still not on the platform

               1             Reply

               Unlikely_Ad_6391 • 22d ago •

              Oh they won it? When was this released?

                   1             Reply



          Last-Toe1005 • 21d ago •

         😂 I hate and love it at the same time, I’m a person who loves to forget things and I believe forgetting things
         can be useful to a certain extent example useless informations. Now we can have a fresh start. But once we
         connect to the past again idk 🤷‍♂️ Musi really has to do better

               1             Reply



https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                        20/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 22 of 29
          Yurushimo • 21d ago •
     Skip to main content
                                                                                                            Log In
         i cant stand ios. i came all the way here to look for an equalizer since it aint global, and now the app is off the
         app store?? all i want is yt music with a customizeable eq dude, jesus christ

               1             Reply



          SeaZestyclose7241 • 21d ago •

         So, as far as I’ve saw, it has to do with copyright infringement with YouTube or something. YouTube says they
         violated policies, while Musi says they don’t. Don’t quote me on that, I’m not saying the source was
         necessarily valid. But we’ll see what happens ig.

               1             Reply



          Izzwop • 20d ago •

         Will Musi ever make a comeback to the Android ? Since Apple not playing fair

               1             Reply



          Osmawolf • 15d ago •

         What a shame, it’s an amazing app, no annoying ads and all free music that you want

               1             Reply



          IsolatedNeophyte • 15d ago •

         i LITERALLY just got a new phone just to find this out....BUMMED OUT IS AN UNDERSTATEMENT

               1             Reply



          Light_Worker7 • 14d ago • Edited 14d ago •

         Today I traded my Iphone 14PM for the Iphone 16PM and after restoring everything from icloud Also find out
         Musi app is not available anymore and I paid to remove ads Had that app for a long time RIP

               1             Reply



          MaximumJayy • 14d ago •

         i’m losing hope 😔

               1             Reply



          Numerous_Rub_5930 • 12d ago •

         The app is gone, but if you still have it on your phone, it will still work

               1             Reply

https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                            21/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 23 of 29


     SkipForeign-Wrongdoer-63
          to main content     • 12d ago •                                                                          Log In

         I had many songs in those playlists that my dead bestfriend showed me throughout the years. This is just sad.
         :/

               1             Reply



          rolltodd112268 • 12d ago •

         There goes 6 bucks!

               1             Reply



          FlowerCandy_ • 12d ago •

         I’m upgrading to a new phone and now I’m so Panicked

               1             Reply

               Threesom666 • 8d ago •

              I Rather have an Old Phone 😭

                   1             Reply



          Clawgre • 11d ago •

         I think the reason because YouTube is Jealous and they don’t like to share. Also it be nice to get some
         patreon video on there

               1             Reply



          BothAd9086 • 11d ago •

         I literally got so angry the other day because randomly none of my songs were playing and the app was
         acting wonky and there was no available update for it. Now I’m angry for a different reason. I’ve been using
         this app since like 2015, I don’t think I’d be able to start over with another app.

               1             Reply



          Lost_Valuable9913 • 11d ago •

         Guys tell me which new music app y’all using without it being Spotify 😭

               1             Reply


               Threesom666 • 8d ago •

              I Know several but would rather U wait for their great comeback.

                   1             Reply



https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         22/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 24 of 29
          lilcloyd_21 • 10d ago •
     Skip to main content
                                                                                                                   Log In
         I Need Musi Back I Love Listening To My Music While Working

               1             Reply



          Yogurt-Pristine • 9d ago •

         I’m still able to use the app on my old phone but can’t download it on my new phone

               1             Reply



          VelociraptorWhiteTip • 9d ago •

         Aw c’mon Youtube!! Seriously Youtube!? You suck big time you greedy money hoarders!! I used to love you
         back in the day 8+ years ago but now you just suck!! Go rot in Hell!!😡

         I really hope to see Musi again soon dear app because you were a much easier nearly add free way of using
         youtube not to mention all of the nice playlists I had.😒🤦🏼‍♀️

               1             Reply



          miinrla • 8d ago •

         no musi!!! i just got a new phone, i need it back ☹️

               1             Reply

               Threesom666 • 8d ago •

              Life sucks without this shit!

              Im lucky I still have it.

                   1             Reply



          Wonderful-Prune-4983 • 7d ago •

         This is just happening to me and I’m about 2 months late to the party. I hope Musi comes back soon! I need
         to quickly listen to my songs and my playlist!

               1             Reply



          YTchilldave • 6d ago •

         I’ve made a petition for to bring music back onto the App Store. If you support music and want to see it back
         make sure you sign this! https://chng.it/p4qxhh2tpJ

               1             Reply



          WelderEastern3600 • 5d ago •


https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         23/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 25 of 29

        Been using Musi since middle school with paid one time fee for no ads. I’m now in my fourth year of college.
     Skip to main content
        Best music app hands down. I’m scared to update my phone lol. Apple Music and Spotify haveLog     In
                                                                                                     no unreleased
        music, who wants to pay for that. Soundcloud will have you listening to a random person who u thought was
        the artist you were trying to listen too and too many ads. 😂 I pray nothing happens to my Musi, listening to
        it as i’m typing this up 🙏🏽

               1             Reply



          WashFlashy4869 • 4d ago •

         Music xpro the Musi try it !

               1             Reply



          Seratonin_101 • 4d ago •

         I downloaded musi on my iphone 12 and ipad which still works, but I'm getting a new phone and it sucks that
         I won't be able to re-download musi despite transferring data.

               1             Reply



          AbrocomaIcy341 • 4d ago •

         You did not have to add allat info abt the iphone😂😭

               1             Reply



          ReasonableProperty26 • 2d ago •

         all my playlists were on there. Spent so much time making them too

               1             Reply



          strawberrieangel • 2d ago •

         Musi any update? 😔

               1             Reply



          kobocha • 1d ago •

         I had the app working only three weeks ago and now when I switched to a new iphone the app is copied
         along with the others but when I try to open it says "App could not be installed "musi - simple music
         streaming" The app is not available on the app store".

         Really hope this is fixed as I paid for lifetime ad-removal and have been tailoring playlists since 2018.

               1             Reply



          Angeldiaz01 • 20h ago •


https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                        24/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 26 of 29

        8 years strong on Musi. Never going to delete it 🔥
     Skip to main content
                                                                                                                   Log In
               1              Reply




          r/iosapps • 25 days ago

    Free music app
    2 upvotes · 6 comments


          r/jpegmafiamusic • 3 days ago

    What does “Project Birdy” mean?


    11 upvotes · 11 comments


          r/madnesscombat • 3 yr. ago

    I FINISHED THE DEIMOS PLUSH!!
                                                                                                                            3

    121 upvotes · 36 comments


          r/Wyze • 4 mo. ago

    Wyze App no longer in play store?
    6 upvotes · 38 comments


          r/Musi_App • 19 days ago

    who up missing musi
    113 upvotes · 50 comments


          r/ios • 4 mo. ago

    Download app that’s not in App Store anymore?


    3 upvotes · 6 comments


          r/ElevenLabs • 3 mo. ago

    Is ElevenLabs completely free on mobile app?
    11 upvotes · 4 comments


          r/Roborock • 2 mo. ago

    Roborock S5 no longer supported on the app?
    4 upvotes · 8 comments


https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                             25/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 27 of 29


     Skipr/Musi_App • 11 days ago
          to main content
                                                                                                                   Log In
    Heres some hope for those who lost the app


    143 upvotes · 23 comments


          r/Musi_App • 11 days ago

    how it feels to get to open musi up every day after it was deleted for everyone else
                                                                                                                            0:06

    218 upvotes · 39 comments


          r/SonyXperia • 3 mo. ago

    Is Sony Album still supported?


    14 upvotes · 30 comments


          r/Musi_App • 2 mo. ago

    I can’t find Musi in the App Store??
    2 upvotes · 7 comments


          r/arkmobile • 3 mo. ago

    Ark not available on iOS store anymore?
    1 upvote · 5 comments


          r/UMD • 3 yr. ago

    Shout-out to the mom who threw a chair over spaghetti sauce outside of Mckeldin Library and
    just walked away

    254 upvotes · 13 comments


          r/SandersSides • 4 yr. ago

    Day 4 of adding stuff to the wall: Moxiety. Can you guys give me suggestions? My idiot brain
    needs some help.

    221 upvotes · 31 comments


          r/Musi_App • 2 mo. ago

    Musi not in App Store
    7 upvotes · 11 comments




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                                26/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 28 of 29

          r/Musi_App • 4 days ago
     Skip to main content
                                                                                                                   Log In
    Musi and I are engaged


    265 upvotes · 36 comments


          r/Musi_App • 16 days ago

    they will never take you away from me


    183 upvotes · 32 comments


          r/Musi_App • 9 days ago

    how I look at other people bragging about having musi when I lost mine (im going insane)


    208 upvotes · 33 comments


          r/CyanideandHappiness • 3 mo. ago

    App for Google Play still missing?
    1 comment


          r/Musi_App • 15 days ago

    I just found out. And I am devastated. 💥


    179 upvotes · 78 comments


          r/N0vaDesktop • 4 mo. ago

    Is the app no longer supported?
    5 upvotes · 2 comments


          r/Musi_App • 7 days ago

    i miss musi
                                                                                                                            2

    124 upvotes · 18 comments


          r/slaythespire • 3 mo. ago

    ios has cloud save now??


          r/ynab • 3 mo. ago



https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                             27/28
12/5/24, 8:28 AM   Case 5:24-cv-06920-EKL                 Document     31-5
                                                             Musi app no longer in Filed   12/06/24
                                                                                   app store? : r/Musi_App Page 29 of 29

    No undo in the mobile app??
                                                                                                                   Log In
    8 upvotes · 18 comments




https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_store/                                         28/28
